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 8                           UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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11    CALIFORNIA RIFLE & PISTOL              )    Case No.: 2:22-cv-07346-SB-JC
      ASSOCIATION, INCORPORATED; )
12    SECOND AMENDMENT                            ORDER GRANTING STIPULATION
      FOUNDATION; GUN OWNERS OF )                 TO VACATE BRIEFING SCHEDULE
13    CALIFORNIA, INC. NELSON GIBBS )             AND HEARING DATE ON
      and JOHN LEYBA,                             RENEWED MOTION FOR
14                                           )    PRELIMINARY INJUNCTION
                                 Plaintiffs, )
15
                       vs.                   )
16                                           )
      CITY OF GLENDALE; GLENDALE )
17    CHIEF OF POLICE CARL
      POVILAITIS, in his official capacity; )
18    GLENDALE CITY CLERK SUZIE              )    Complaint Served: October 18, 2022
      ABAJIAN, in her official capacity; and
19    DOES 1-10,                             )
                                             )    Hon. Stanley Blumenfeld Jr.
20                               Defendants. )
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 1                                    [PROPOSED] ORDER
 2          Pursuant to the parties’ stipulation and good cause appearing thereon, IT IS SO
 3    ORDERED. The briefing schedule and hearing date on Plaintiffs’ renewed motion for
 4    preliminary injunction is vacated. An Order to Show Cause re Dismissal/Settlement is
 5    scheduled for ______________________________________, 2024.
 6
 7    Dated:
 8
                                               Stanley Blumenfeld, Jr.
 9
                                               United States District Judge
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